     Case 3:22-cr-00120-DJH Document 1 Filed 09/09/22 Page 1 of 1 PageID #: 1

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 AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                                  CLERK
                                                                                                           
                                         UNITED STATES DISTRICT COURT                                    U.S. DISTRICT COURT
                                                     for the                                        WESTERN DISTRICT OF KENTUCKY
                                         WESTERN DISTRICT OF KENTUCKY

            UNITED STATES OF AMERICA                               )
                 v.                                                )
                                                                   )         Case No.      0-
             DEONTA DEGROAT                                        )
                 Defendant

                                                   CRIMINAL COMPLAINT

            I, the complainant in this case, state the following is true to the best of my knowledge and belief.

        On or about the date(s) of           September 8, 2022,              in the county of           Jefferson
in the Western District of Kentucky, the defendant violated:

                          Code Section                                       Offense Description
                          18 U.S.C 922(g)(1)                                 Possession of a firearm by a felon
                          21 U.S.C 841 (a)(1)                                Possession with intent to distribute

            This criminal complaint is based on these facts:

            ;              Continued on the attached sheet


                                                                   /s/ Keith Bikowski
                                                                   ___________________________________
                                                                   Special Agent Keith Bikowski, DEA

Sworn to/attested to by the affiant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone or other reliable electronic means

                  September 9, 2022
Date:       _________________________                        _________________________________________
                                                                          Judge’s Signature

City and State: Louisville, Kentucky                               United States Magistrate Judge__________
                                                                   Printed Name and Title




                                                                                                        JTK/klm
